 B6C (Official Form 6C) (4/10)


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  In re         Heather A Dare                                                                                         Case No.           11-71560
                                                                                                           ,
                                                                                        Debtor

                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
Personal residence                                                        11 U.S.C. § 522(d)(1)                                    13,061.10                      115,000.00
Location: 9119 Garfield Drive, Whitmore Lake
MI 48189

Cash on Hand
Cash on hand                                                              11 U.S.C. § 522(d)(5)                                          17.00                            17.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Michigan Educational Credit Union savings         11 U.S.C. § 522(d)(5)                                                                177.50                           177.50
account #xxx0100

Michigan Educational Credit Union checking                                11 U.S.C. § 522(d)(5)                                        274.00                           274.00
account #xxx4514

Michigan Educational Credit Union vacation                                11 U.S.C. § 522(d)(5)                                            5.19                             5.19
club savings account

Michigan Educational Credit Union Christmas                               11 U.S.C. § 522(d)(5)                                            5.05                             5.05
club savings account

Household Goods and Furnishings
Kitchen: stove, refrigerator, microwave, toaster,                         11 U.S.C. § 522(d)(3)                                        450.00                           450.00
dishes, coffee pot, pots and pans, utensils,
silverware, crock pot, table and chairs, glasses

Living room: couch, love seat, 3 tables,                                  11 U.S.C. § 522(d)(3)                                        300.00                           300.00
candles, rug, knick knacks, clock, vases, tv, dvd
player

Family room: futon, 3 tables, wall mirror, misc.                          11 U.S.C. § 522(d)(3)                                        250.00                           250.00
knick knacks, clock, tv

Bedroom: queen bed, 2 dressers, 2 night                                   11 U.S.C. § 522(d)(3)                                        350.00                           350.00
stands, lamps, fake plants, alarm clock, i pod

Bedroom: Twin bed, 2 dressers, night stand,                               11 U.S.C. § 522(d)(3)                                        300.00                           300.00
misc. games, lamp, tv, alarm clock, bedding

Christmas tree, misc. holiday decorations, misc.                          11 U.S.C. § 522(d)(3)                                        700.00                           700.00
tools, coolers, refrigerator, snow shovel, tent,
shop vac, small tool box, gloves, lawn mower,
weed whip, rake, pruner, outdoor solar lights,
patio table and chairs, grill, hose

Bathroom: rugs, towels, misc. toiletries, small                           11 U.S.C. § 522(d)(3)                                          30.00                            30.00
radio

Bedroom: bunk bed, tv dresser, lamp, mirror,                              11 U.S.C. § 522(d)(3)                                        200.00                           200.00
bedding



    1     continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Heather A Dare                                                                              Case No.      11-71560
                                                                                                        ,
                                                                                         Debtor

                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing           Value of            Current Value of
                  Description of Property                                          Each Exemption               Claimed             Property Without
                                                                                                               Exemption          Deducting Exemption

Laptop                                                                    11 U.S.C. § 522(d)(3)                          75.00                   75.00

Books, Pictures and Other Art Objects; Collectibles
Misc. books and pictures                            11 U.S.C. § 522(d)(3)                                                50.00                   50.00

Wearing Apparel
Clothing                                                                  11 U.S.C. § 522(d)(3)                         499.00                  499.00

Furs and Jewelry
Misc. costume jewelry                                                     11 U.S.C. § 522(d)(4)                          50.00                   50.00

Firearms and Sports, Photographic and Other Hobby Equipment
Roller blades, ice skates, bike, eliptical      11 U.S.C. § 522(d)(5)                                                    65.00                   65.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Brighton Dermatology Center Profit Sharing          11 U.S.C. § 522(d)(12)                                               100%                 2,843.46
Plan & Trust                                        11 U.S.C. 541(c)(2)                                                  100%

Stock and Interests in Businesses
RYDEX/SGI Security Global Investors stock                                 11 U.S.C. § 522(d)(5)                         979.16                  979.16

Alimony, Maintenance, Support, and Property Settlements
Child support arrearage owed from ex-husband      11 U.S.C. § 522(d)(10)(D)                                        32,071.90                 32,071.90
(not likely to collect)

Other Liquidated Debts Owing Debtor Including Tax Refund
2011 anticipated income tax refund prorated to   11 U.S.C. § 522(d)(5)                                                 7,041.00               7,041.00
date of filing

Automobiles, Trucks, Trailers, and Other Vehicles
2000 Chevy Silverado                                                      11 U.S.C. § 522(d)(2)                        2,575.00               2,575.00

2007 Ford Focus                                                           11 U.S.C. § 522(d)(5)                            0.00               5,025.00




                                                                                                  Total:           65,212.82               169,333.26
 Sheet     1    of     1    continuation sheets attached to the Schedule of Property Claimed as Exempt
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